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                         UNITED STATES DISTRICT COURT

                                DISTRICT OF NEVADA

SUSIE LEAHY, et al.,                            Case No. 2:10-CV-00082-GMN-(PAL)
                           Plaintiffs,          PLAINTIFFS’ OPPOSITION TO
                                                DEFENDANT LONE MOUNTAIN
      vs.                                       AVIATION, INC.’S MOTION IN LIMINE
                                                TO INTRODUCE EVIDENCE OF
LONE MOUNTAIN AVIATION, INC., et al.,           PLAINTIFF LEAHY’S REMARRIAGE

                           Defendants.
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       Plaintiff Susie Leahy, individually, and Susie Leahy as guardian ad litem for Rebecca

Susan Leahy, a minor, Hannah Joy Leahy, a minor, and William John Leahy, III, a minor, submit

the following points and authorities in opposition to Defendant Lone Mountain Aviation, Inc.’s

(“LMA”) motion in limine seeking to introduce evidence of plaintiff Susie Leahy’s remarriage.

                   MEMORANDUM OF POINTS AND AUTHORITIES
                                                   I.

                                         STATEMENT

       In this matter, plaintiffs have filed their own Motion in Limine No. 4 to preclude any

reference to plaintiff Susie Leahy’s remarriage.

       Inasmuch as that pleading filed as Docket No. 77 by the plaintiffs in this case contains

plaintiff’s point and authorities on this matter, plaintiffs incorporate that document by reference

in opposition to LMA’s present motion in limine.

                                               II.

                                        CONCLUSION
       Based on the points and authorities continued in plaintiffs’ Motion in Limine No. 4 to

preclude evidence of her remarriage (Docket No. 77), it is respectfully submitted that this court

give full force and effect to Nevada’s wrongful death statutes which come into force and effect

upon the death of the decedent and are designed to provide plaintiffs with the full benefit of

damages permitted them by state statute. To do otherwise, would provide a potential tortfeasor




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such as LMA with a collateral benefit that it is not entitled to, to wit, taking advantage of

potential changed financial circumstances based on a spouse’s remarriage.


 DATED:        March 14, 2013             Respectfully submitted,
                                          BAILEY & PARTNERS
                                          A Professional Corporation

                                          LAW OFFICE OF JIM ORONOZ



                                          By:            /s/Keith A. Lovendosky
                                          Attorneys for Plaintiffs SUSIE LEAHY, REBECCA
                                          SUSAN LEAHY, HANNAH JOY LEAHY and
                                          WILLIAM JOHN LEAHY, III




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                                CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing, via electronic and/or first class mail, postage
prepaid, on the following this 14th day of March, 2013:

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